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1                                                                    The Honorable Robert J. Bryan

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7
                              UNITED STATES DISTRICT COURT
8                            WESTERN DISTRICT OF WASHINGTON

9      STATE OF WASHINGTON,                                  CIVIL ACTION NO. 3:17-cv-05806-RJB
10                            Plaintiff,
                                                             STATE OF WASHINGTON’S
11                 v.                                        RESPONSE TO THE GEO GROUP,
                                                             INC’S MOTION FOR
12     THE GEO GROUP, INC.,                                  CERTIFICATION OF
                                                             INTERLOCUTORY APPEAL
13                            Defendant.

14                                     I.      INTRODUCTION

15          Having lost a discovery dispute and a Motion for Reconsideration, The GEO Group, Inc.

16   (“GEO”) now makes a third attempt to avoid production of financial information and records

17   related to the Northwest Detention Center (“NWDC”). GEO characterizes its disagreement with

18   the Court’s routine discovery order as an “exceptional” circumstance that requires immediate

19   appellate review. It is not, and this effort to further delay resolution of this case should be

20   rejected.

21                               II.        FACTUAL BACKGROUND

22          Washington moved to compel production of GEO’s financial records because the

23   information is needed to prove GEO’s liability for unjust enrichment and to calculate the remedy

24   of disgorgement. See Joint Mot. to Compel GEO’s Financials, ECF 126 at 15-17, 26-28. The

25   Court granted Washington’s Motion to Compel in part, and ordered GEO to produce financial

26   information related to the NWDC and its Voluntary Work Program (“VWP”). See Disc. Order,

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1    ECF 133 at 9-10. In denying GEO’s Motion for Reconsideration, the Court held that “the

2    financial documents it has compelled . . . are discoverable.” Reconsideration Order, ECF 144 at

3    2. The Court explicitly refrained from “making any findings on the merits of any claim

4    prematurely” or “further comment[ing] on their relevance.” Id. (Hereinafter ECF 144 and ECF

5    133 collectively, the “Discovery Orders.”)

6           To date, GEO has not produced the full financial information and documents related to

7    the NWDC’s budget and profits from 2005 to present, as compelled by this Court’s Discovery

8    Orders; in addition, there are significant gaps in the financial accounting and records GEO did

9    produce regarding its VWP payments and reimbursements ($1/day) over the years. Decl. of A.

10   Brenneke (“Brenneke Decl.”) ¶¶ 3-4. Instead of producing full budget and profit information

11   related to the NWDC, in compliance with the Court’s order, it seeks certification to appeal.

12                                        III.    ARGUMENT

13   A.     GEO Faces No “Risk” in Complying with the Court’s Discovery Orders.
14          As an initial matter, complying with the Court’s Discovery Order poses no “risk” to

15   GEO. See ECF 145 at 5, 12. Any disclosure of financial information will be made pursuant to

16   the parties’ Protective Order. ECF 70. Although GEO asserts an “unauthorized reproduction” of

17   “sensitive information without proper confidentiality markings,” ECF 145 at 5, Washington has

18   complied with the Protective Order to the letter.

19          In discovery, GEO produced some financial reports, documents and spreadsheets that

20   contain financial information. Brenneke Decl. ¶ 5. As these are GEO’s documents, GEO

21   designated the documents “confidential” pursuant to the Protective Order. Id. Washington, in

22   turn, provided the financial documents it had received, under the terms of the Protective Order,

23   to its economics expert. Id. ¶ 8. The expert signed an agreement to be bound by the terms of the

24   Protective Order. Id. The expert issued a report on the basis of the information and documents

25   then available. Id. ¶ 9. The expert report was disclosed only to GEO, id., and never resulted in a

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1    “public disclosure” of the kind that the Protective Order, by its own terms, is concerned with.

2    ECF 70 at 1.

3            Moreover, and importantly, all documents and spreadsheets marked “confidential” were

4    protected in this process, as was the expert report derived from those confidential documents, in

5    compliance with the Protective Order. Brenneke Decl. ¶ 8. After Washington disclosed the

6    expert report to GEO, GEO requested that certain pages of the expert report that contained

7    analysis derived from confidential material be marked as “confidential.” Id. ¶ 10. Washington

8    complied with GEO’s request. Id. ¶ 11 Washington’s expert generated an amended report, with

9    confidentiality markings, and Washington served the amended report on GEO. Id.

10           In short, Washington diligently followed the terms of the Protective Order. Washington

11   simply has done nothing to suggest that GEO’s production of relevant, limited, and court-

12   ordered, financial information will pose any “risk” to GEO.

13   B.      Routine Discovery Orders Are not Appropriate for Interlocutory Appeal
14           1.      GEO Bears the Burden of Showing Exceptional Circumstances Justify an
                     Interlocutory Appeal
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16           Although Congress created a mechanism by which litigants can seek appeal of a non-

17   final order, see 28 U.S.C. § 1292(b), the mechanism is applied “sparingly.” United States v.

18   Woodbury, 263 F.2d 784, 788 n.11 (9th Cir. 1959). Even when § 1292(b)’s statutory criteria is

19   satisfied, “district court judges have ‘unfettered discretion’ to deny certification.” Brizzee v. Fred

20   Meyer Stores, Inc., No. CV 04-1566-ST, 2008 WL 426510, at *3 (D. Or. Feb. 13, 2008) (quoting

21   Ryan, Beck & Co., LLC v. Fakih, 275 F. Supp. 2d 393, 396 (E.D.N.Y. 2003).

22           If the district court exercises its discretion and certifies the order for appeal, the Ninth

23   Circuit may still reject the interlocutory appeal—and “does so quite frequently.” James v. Price

24   Stern Sloan, Inc., 283 F.3d 1064, 1067 n.6 (9th Cir. 2002); see also, In re Cement Antitrust Litig.,

25   673 F.2d 1020, 1027 (9th Cir. 1981) (refusing to review an interlocutory appeal because the

26   challenged order “would not materially affect the outcome of th[e] litigation, but only its

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1    duration”); U.S. Rubber Co. v. Wright, 359 F.2d 784, 785 (9th Cir. 1966) (concluding a district

2    court’s order granting interlocutory appeal was “improvidently granted”).

3           As the party seeking certification under 28 U.S.C. § 1292(b), GEO bears the burden of

4    showing that “exceptional circumstances justify a departure from the ‘basic policy of postponing

5    appellate review until after the entry of a final judgment.’” In re Cement Antitrust Litig., 673

6    F.2d at 1026 (quoting Coopers & Lybrand v. Livesay, 437 U.S. 463, 475 (1978)). See also U.S.

7    Rubber Co., 359 F.2d at 785 (“[Section 1292(b)] was not intended merely to provide review of

8    difficult rulings in hard cases.”). To successfully petition for an interlocutory appeal, GEO must

9    show the Court’s order (1) involves a controlling question of law, (2) as to which there is

10   substantial ground for difference of opinion, and (3) an immediate appeal may materially

11   advance the ultimate termination of the litigation. 28 U.S.C. § 1292(b); see also Kight v. Eskanos

12   & Adler, P.C., No. 05CV1999 L (AJB), 2007 WL 173825, at *2 (S.D. Cal. Jan. 8, 2007) (“All

13   three requirements must be met for certification to issue.”). GEO fails to meet any of the three

14   elements.

15          2.      There Is No Controlling Question of Law
16          GEO broadly asserts that “[t]he relevance of compelled discovery may be a controlling

17   question of law.” ECF 145 at 10-11. That is an overstatement. The Court’s determination that

18   NWDC’s financial information is relevant to Washington’s unjust enrichment claim, and

19   therefore discoverable, is not a “controlling question of law.” See, e.g., Woodbury, 263 F.2d at

20   787 (refusing to review district court’s order to produce documents that the government claimed

21   to be privileged because the issues raised in the case were “in no way affected by the order to

22   produce documents”). While the financial documents are important because they constitute

23   evidence that likely will support Washington’s proof and measure of the “benefit” gained by

24   GEO from detainee labor at the NWDC, this entire discovery dispute involves the method of

25   proving and quantifying these sub-parts of the unjust enrichment claim. Even GEO

26   acknowledges that inviting Ninth Circuit review would not dispose of the unjust enrichment

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1    claim and, at most, would narrow Washington’s approach to proof and damages. ECF 145 at 12-

2    13, 16. Indeed, it will add delay and expense while doing nothing to “avoid protracted and

3    expensive litigation.” In re Cement Antitrust Litig., 673 F.2d at 1026. Cf. Reese v. BP Expl.

4    (Alaska) Inc., 643 F.3d 681, 687-90 (9th Cir. 2011) (granting interlocutory review where reversal

5    may take one defendant entirely out of the case and eliminate personal control liability claims

6    against three others). Ordinary discovery disputes about the scope of Rule 26 discovery do not

7    raise questions of controlling law.

8           None of the cases GEO cites are to the contrary, becasue none supports the notion that

9    relevance of discovery, without more, is a controlling question of law. Cf., Mohawk Indus., Inc.

10   v. Carpenter, 558 U.S. 100, 110–11 (2009) (opining that elements of 28 U.S.C. § 1292(b) will

11   most likely be satisfied when a privilege ruling involves a new legal question or is of special

12   consequence); Tennenbaum v. Deloitte & Touche, 77 F.3d 337, 339 (9th Cir. 1996) (reversing a

13   district court order requiring deposition testimony because it revealed attorney-client privileged

14   communications); Transamerica Computer Co. v. Int’l Bus. Machs. Corp., 573 F.2d 646, 647

15   (9th Cir. 1978) (analyzing whether IBM waived attorney-client privilege under unique

16   circumstances where it inadvertently produced documents in accelerated discovery proceedings

17   in prior, unrelated lawsuit).

18          The only case GEO cites regarding relevance of discovery at all is inapposite. In Rivera

19   v. NIBCO, Inc., 364 F.3d 1057, 1061-62 (9th Cir. 2004), the district court upheld a magistrate’s

20   protective order that barred discovery into plaintiffs’ immigration status because defendant’s

21   use of the discovery process to obtain such information could chill the plaintiffs’ willingness and

22   ability to bring civil rights claims. The district court certified for interlocutory review an order

23   denying reconsideration of defendant’s claim that plaintiffs’ immigration status was

24   discoverable because of its relevance to potential remedies. Id. at 1062. The Ninth Circuit

25   granted the petition for interlocutory appeal, but rejected defendant’s “contention that discovery

26   regarding the plaintiffs’ immigration statuts is essential to its defense.” Id. at 1070. The Ninth

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1    Circuit futher held that a protection against discovery of immigration status was supported by

2    good cause, where disclosure could result in “criminal prosecution and deportation.” Id. at 1064.

3    Here, the concerns that formed the backdrop for the Ninth Circuit’s interlocutory review in

4    Rivera do not exist. GEO makes no claim that discovery regarding its finances will impair its

5    ability to defend against Washington’s claims. It likewise makes no argument that discovery

6    here would create a chilling effect that would cause GEO to “forego . . . litigation.” Id. at 1065.

7    Rivera dealt with different circumstances and is inapplicable.

8           3.      There Is Not Substantial Ground for Difference of Opinion
9           GEO also fails to show the requisite substantial ground for difference of opinion. While

10   GEO continues to take issue with the Court’s Discovery Orders, “[a] party’s strong disagreement

11   with the Court's ruling is not sufficient” to show that here is substantial ground for difference of

12   opinion. Couch v. Telescope Inc., 611 F.3d 629, 633–34 (9th Cir. 2010) (citations omitted).

13   Further, “[t]hat settled law might be applied differently does not establish a substantial ground

14   for difference of opinion.” Id.

15          To determine if there is substantial ground for difference of opinion, courts examine to

16   what extent the controlling law is unclear. Id. The mere presence of a disputed issue that is a

17   question of first impression, standing alone, is not enough. See id. (concluding that the Ninth

18   Circuit lacked jurisdiction to entertain an interlocutory appeal even though the state supreme

19   court had not yet ruled on the state law issue of first impression). See also Union County. v. Piper

20   Jaffray & Co., 525 F.3d 643, 647 (8th Cir. 2008) (holding that a “dearth of cases” does not give

21   rise to a substantial ground for difference of opinion). “Nor does the fact that no . . . court has

22   addressed the precise questions at issue satisfy the requirement of a substantial ground for

23   disagreement[.]” Couch, 611 F.3d at 634. Here, GEO attempts to manufacture substantial ground

24   for difference of opinion by arguing Washington’s unjust enrichment claim is “a novel issue

25   [that] has not been decided by the Ninth Circuit” and that “reasonable judges may differ on what

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1    kinds of financial documents would be relevant.” ECF 145 at 12. GEO’s argument, however,

2    fails for three reasons.

3            First, neither Washington’s unjust enrichment claim, nor the remedy sought, is “novel.”

4    The state supreme court has already considered the claim, set out its elements with specificity,

5    and clarified the importance of        disgorging the “full value” of the received benefit. In

6    Washington, unjust enrichment occurs “when one retains money or benefits which in justice and

7    equity belong to another.” Bailie Commc’ns, Ltd. v. Trend Bus. Sys., Inc., 810 P.2d 12, 18 (Wash.

8    Ct. App. 1991). To sustain an unjust enrichment claim, Washington must prove three elements:

9    (1) GEO receives a benefit, (2) the received benefit is at another’s expense, and (3) the

10   circumstances make it unjust for GEO to retain the benefit without payment. Young v. Young,

11   191 P.3d 1258, 1262 (Wash. 2008). The remedy for unjust enrichment requires disgorgement of

12   the full value of the received benefit, with a focus on the receiver of the benefit, not the provider

13   of the benefit. Id. at 1265. See also Staff Builders Home Healthcare, Inc. v. Whitlock, 33 P.3d

14   424, 426 (Wash. 2001) (noting the remedy may include disgorging “wrongfully obtained

15   profits”). Although GEO argues Young was decided in the real estate context, nothing in Young

16   suggests these basic tenets of the cause of action are so limited. As such, while the fair market

17   value of the detainee labor is a central part of the analysis, the “differential calculation” GEO

18   refers to, ECF 145 at 13, and the state supreme court has already held that disgorgement of

19   “unjust enrichment” must be for the full value by which the labor enriched the beneficiary.

20   Young, 191 P.3d at 1258, 1265 (owner “must disgorge the entire value of the benefit she received

21   as determined by either the fair market value of the services rendered or the amount the

22   improvements enhanced the value of the property”). Nothing about the Washington’s unjust

23   enrichment cause of action is novel.

24           Second, GEO’s argument that it cannot be held accountable for its unfair labor practices

25   through an equitable claim also fail. ECF 145 at 14-15 (suggesting Washington’s “unjust

26   enrichment claim is in effect one for wages”). Of course, an unjust enrichment claim brought in

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1    equity is different from a wage claim at law. See Menocal v. GEO Group, Inc., 113 F. Supp. 3d

2    1125, 1133 (D. Colo. 2015) (denying GEO’s motion to dismiss plaintiffs’ equitable claim even

3    though “the claim appears to be largely based on [the plaintiffs’ state minimum wage claim]”).

4    Not even the case GEO relies upon for the proposition supports its argument. See ECF 145 at

5    14 (citing Moberg v. Terraqua, Inc., 199 Wash App. 1059, 2017 WL 3048645 (Wash. Ct. App.

6    July, 18, 2017) (unpublished) (applying Young to an employment relationship and noting that

7    “[a] party may bring a claim for unjust enrichment to recover the value of a benefit retained even

8    absent any contractual relationship, if fairness and justice require it”). Notably, in Moberg, the

9    court did not find “that a defendant’s increased profitability [to be] irrelevant to an unjust

10   enrichment claim based on wages,” as GEO claims, ECF 145 at 13, but instead that the employee

11   failed to prove that it was his own efforts that had increased the business value such that it would

12   be unjust for the owner to keep the profits. Moberg v. Terraqua, Inc., 199 Wash App. 1059, 2017

13   WL 3048645 at *10.

14          Third, uncertainty about the specific method the court will use to calculate disgorgement

15   of the “full value” of benefit to GEO does not constitute substantial ground for difference of

16   opinion warranting interlocutory review. Cf. ECF 145 at 12-13. The “full value” of the benefit

17   to GEO is fact-bound; it depends on the particular circumstances of this case and the as-yet

18   unproduced financial information that is the subject of the current Discovery Orders. There is no

19   clarity to be gained by seeking an advisory opinion from the Ninth Circuit on the application of

20   Washington State unjust enrichment law, especially on this undeveloped record.

21          4.      Certification Will Not Materially Advance the Litigation
22          GEO finally argues that reversal of the Court’s orders would “simplify[] the issues to be

23   resolved through dispositive motions or by a jury” and “limit the State to the damages theory it

24   pled.” ECF 145 at 15-16. GEO is mistaken, in that Washington’s prayer for relief does seek

25   disgorgement of the full benefit received by GEO. ECF 1-1 at ¶ 7.6. Further, GEO’s bald

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1    assertions are insufficient to show that “an immediate appeal may materially advance the

2    ultimate termination of the litigation” as required under 28 U.S.C. § 1292(b).

3           The financial information and documents GEO must produce under the Discovery Orders

4    are needed to establish GEO “benefitted” from detainee labor, a liability issue which GEO

5    contests, as well as to calculate the disgorgement of profit. ECF 126 at 15-17, 26-28. Therefore,

6    even if the Court of Appeals were to accept the appeal and instruct the Court on a restricted

7    method for calculating the remedy, GEO’s financial documents still would be relevant and

8    necessary for Washington to prove GEO received a “benefit,” as necessary for the underlying

9    liability. Young, 191 P.3d at 1262.

10          Certification of discovery orders requiring GEO to produce financial documents will

11   therefore not materially advance the litigation. The financial documents are relevant and

12   discoverable. “[T]hough it may be a tactical disadvantage to have to [disclose documents],

13   [n]othing in the statute or in its legislative history indicates that 1292(b) was designed to relieve

14   [GEO] from such hazards.” See Woodbury, 263 F.2d at 787–88.

15                                         IV.    CONCLUSION

16          GEO fails to carry its burden of showing an exceptional circumstance under 28 U.S.C.

17   § 1292(b). The Court should deny GEO’s Motion for Certification of Interlocutory Appeal and

18   order GEO to promptly produce its financial records.

19          Dated this 5th day of November, 2018.
                                                Respectfully submitted,
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21                                                  BOB FERGUSON
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22
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1                                  CERTIFICATE OF SERVICE
2           I hereby certify that the foregoing document was electronically filed with the United

3    States District Court using the CM/ECF system. I certify that all participants in the case are

4    registered CM/ECF users and that service will be accomplished by the appellate CM/ECF

5    system.

6
     Dated this 5th day of November, 2018 in Seattle, Washington.
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                                                 s/ Andrea Brenneke
8                                                Andrea Brenneke
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